                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
                                                        )
v.                                                      )       Criminal No. 3:10-00247
                                                        )       Judge Trauger
JESSICA POTTS                                           )

                                  MEMORANDUM and ORDER

         Defendant Potts has filed a Motion to Sever Defendants (Docket No. 31) and a Motion to

Sever Counts (Docket No. 32), to which the government has responded in opposition (Docket

No. 43).

         Federal Rule of Criminal Procedure 8(b) concerns the joinder of defendants and states

that, “the indictment or information may charge 2 or more defendants if they are alleged to have

participated in the same act or transaction, or in the same series of acts or transactions,

constituting an offense or offenses. The defendants may be charged in one or more counts

together or separately. All defendants need not be charged in each count.” Rule 8(b) is

generally interpreted to require only a “logical interrelationship” between the acts and

transactions alleged and the parties involved. United States v. Lloyd, 10 F.3d 1197, 1214-15 (6th

Cir. 1993). Rule 8 is to be construed “in favor of joinder” and applied based upon the facts

stated in the indictment; however, the district court has no discretion to deny a motion to sever in

the event of misjoinder. United States v. Hatcher, 680 F.2d 438, 440-41 (6th Cir. 1982); United

States v. Frost, 125 F.3d 346, 389 (6th Cir. 1997)



         Even if all defendants are properly joined, the court still has discretion to sever or take

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other remedial action. Indeed, Federal Rule of Criminal Procedure 14 states that, “if the joinder

of offenses or defendants in an indictment . . . appears to prejudice a defendant or the

government, the court may order separate trial of counts, sever the defendants’ trials, or provide

any other relief that justice requires.” The burden on the defendant to demonstrate the propriety

of severance under Rule 14 is quite high; that is, there generally must be “a serious risk that a

joint trial would compromise a specific trial right of one of the defendants, or prevent the jury

from making a reliable judgment about guilt or innocence,” in order to justify the expense,

inconvenience, and judicial uncertainty caused by multiple trials in the case of defendants who

were properly joined under Rule 8(b). Zafiro v. United States, 506 U.S. 534, 539 (1993).

       Here, there is a logical inter-relationship between both the offenses and the defendants.

One of the firearms alleged in Count Three, the Glock 45 caliber pistol, matches the firearm that

the defendants are charged with carrying, brandishing and discharging during the robbery

charged in Counts One and Two. Moreover, the firearms alleged in Counts Three and Four were

found in the execution of a search warrant related to the robbery charged in Counts One and

Two.

       As to the defendant’s arguments under Bruton and Crawford, the defendant’s own

admissions are much more damaging to her than the one statement made by her co-defendant,

Thomas Schroeder. The only statement furnished to the court made by Mr. Schroeder that

implicates defendant Potts is that “the guns that were in the house were purchased by his

girlfriend at Gun City and Guns and Leather.” (Docket No. 40-1 at 3-4) Should the government

seek to introduce statements made by defendant Schroeder against him at a joint trial, a simple

redaction of this sentence from his statements will cure any possible prejudice to defendant Potts


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of the admission of Schroeder’s statements.

       Neither motion filed by defendant Potts meets the standard requiring severance.

Therefore, the Motions to Sever filed by defendant Potts (Docket Nos. 31, 32) are DENIED.

       It is so ORDERED.

       ENTER this 31st day of May 2011.




                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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